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LYNN MARIE POLINSKI,
Plaintiff,
Civ. No. 04-2912-M1ZP

vs°

SARA LEE CORPORATION/JIMMY
DEAN FOODS,

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Defendant.

 

ORDER DENYING DEFENDANT'S REQUEST FOR ATTORNEY'S FEES AND/OR
DISMISSAL OF COMPLAINT

 

On August 3, 2005, the court entered an order granting
defendant Sara Lee Corporation's ("Sara Lee") motion to compel,
which was filed on July 14, 2005. In the motion to compel, Sara
Lee asked the court to order plaintiff Lynn Marie Polinski to
respond to all outstanding discovery requests, to award attorney's
fees to Sara Lee, and to dismiss this case with prejudice. In the
August 3 order, the court ordered Polinski to respond. to all
outstanding discovery requests Within eleven days. Regarding Sara
Lee's request for attorney's fees and dismissal as sanctions
against Polinski, the court ordered counsel for Polinski, Mr.
Bradley G. Kirk, to submit a supplemental response describing in
detail his reasons for not timely responding to the discovery

requests. On August 18, 2005, Mr. Kirk filed his supplemental

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response under seal (with permission from the court).

The Federal Rules of Civil Procedure authorize the court to
impose sanctions for discovery abuse, which could include
dismissing the complaint with prejudice and awarding attorney’s
fees. §§§ Fed. R. Civ. P. 37(c)(1)(authorizing sanctions under Rule
37(b)(2)(C)); Fed. R. Civ. P. 26. In determining whether to impose
the sanction of dismissal, courts have taken into consideration
several factors, including: (1) the extent of the party's personal
responsibility; (2) the prejudice to the adversary caused by the
failure to respond to discovery; (3) a history of dilatoriness; (4)
whether the conduct of the party or the attorney was willful or in
bad faith; (5) the effectiveness of sanctions other than dismissal
and the availability of alternative sanctions; and (6) the
meritoriousness of the claim or defense. _§e Amalgamated Bank of
New York v. The Pennsvlvania Co., No. Civ.A. 93-6703, 1995 WL
71324, at *2 (E.D. Pa. Feb. 21, 1995) (citing Poulis v. State Farm
Fire and Casualtv Co., 747 F.2d 863, 868 (3d Cir. 1984)); Freeland
v. Amigo, 103 F.3d 1271, 1276 (6th Cir. 1997) (explaining that in
deciding what sanctions are appropriate under Rule 37, the court
considers whether the party's failure to cooperate in discovery was
willful; the prejudice to the other party; whether the offending
party had been previously warned that failure to cooperate in the
future could lead to the sanction; and whether less drastic

sanctions were first imposed or considered); see also FDIC v.

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Conner, 20 F.3d 1376, 1380 (5th Cir. 1994); Southern Union Co. v.

Southwest Gas Corp., 180 F.Supp.2d 1021, 1062 (D. Ariz. 2002)
(“Extreme sanctions, however, such as striking pleadings . . . are

reserved for extreme circumstances.”).

In this case, Sara Lee's requested sanction of dismissal is
not warranted. Although this is not the first time that Polinski
has failed to comply with the discovery rules and failed to timely
respond to Sara Lee's motion to compel, see June 17, 2005 Order
granting Sara Lee's Motion. to Compel Initial Disclosures, it
appears that these discovery violations were the fault of counsel,
Mr. Kirk, and not the plaintiff herself. Moreover, there is no
indication from the record that the conduct was willful or in bad
faith. The court also does not believe that an award of attorney's
fees is appropriate at this time, based on the medical reasons set
forth in Mr. Kirk's supplemental response.

However, Polinski and counsel are hereby warned, again, that
any failure to comply with the court's orders or to respond to
discovery requests shall result in sanctions, including dismissal

of the complaint with prejudice and an award of attorney's fees.

"C:;\>€£l__.

TU M. PHAM
United States Magistrate Judge

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Date °

IT IS SO ORDERED.

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This notice confirms a copy of the document docketed as number 20 in
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Maurice Wexler

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

i\/lemphis7 TN 38103

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
LeXington, TN 38351

Angie Davis

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

